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 4                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 5                                          AT TACOMA

 6
      UNITED STATES OF AMERICA,
 7                   Plaintiff,
                                                                   Case No. CR05-5547FDB
 8            v.
                                                                   ORDER DENYING PLAINTIFF’S
 9    KRISTOPHER KELLY NOLAN, et al.,                              MOTION FOR RECONSIDERATION
                                                                   OF ORDER DENYING MOTION TO
10
                     Defendant.                                    DISMISS COMPLAINT
11
            Before the court is Plaintiff’s motion for reconsideration of the Order of the Honorable Judge
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     J. Kelley Arnold of July 27, 2004 denying Plaintiff’s motion to dismiss the complaint in this case.
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     Motions for reconsideration are disfavored and the court will ordinarily deny such motions in the
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     absence of a showing of manifest error in the prior ruling or a showing of new facts or legal authority
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     which could not have been brought to its attention earlier with reasonable diligence. CrR 12(
16
     c)(11)(A). Plaintiff has shown neither.
17
            Plaintiff seeks dismissal because it fears the “imposition of an artificially short period of time
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     to further investigate the case.” The grand jury returned an indictment in this case on one of the
19
     three charges submitted to it by the government. It is assumed the government investigated those
20
     charges prior to submitting them to the grand jury.



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            DATED this 8th day of August, 2005.
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23                                                  FRANKLIN D. BURGESS
                                                    UNITED STATES DISTRICT JUDGE
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26   ORDER - 1
